Case 2:15-cv-00042-JES-CM             Document 8       Filed 02/18/15      Page 1 of 1 PageID 68




                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                   FORT MYERS DIVISION


JOSHUA GREENBERG,
                                                    CASE NO.: 2:15-cv-00042-JES-CM
         Plaintiff,

v.

STEPHEN FLEISCHER,

      Defendant.
_______________________________________/

                       NOTICE OF PENDENCY OF OTHER ACTIONS

         In accordance with Local Rule 1.04(d), I certify that the instant action

 X    IS                related to any pending or closed civil or criminal case(s) filed with this
                        Court, or any other Federal or State court, or administrative agency as
                        indicated below:
                        Stephen R. Fleischer v. CitiGroup Global Markets, Inc. f/k/a CitiCorp.
                        Inv. Servs. Case No. 12-03600 (Arbitration of Financial Industry
                        Regulatory Authority (FINRA) Dispute)

 _ IS NOT               related to any pending or closed civil or criminal case filed with this
                        Court, or any other Federal or State court, or administrative agency.

       I further certify that I will serve a copy of this Notice of Pendency of Other Actions
upon each party no later than fourteen days after appearance of the party.

Dated:     February 18, 2015
                                       Respectfully Submitted,

                                       /s/ Marc J. Gottlieb________________________
                                       Marc J. Gottlieb/Fla. Bar No. 827819
                                       primary email: marc.gottlieb@akerman.com
                                       secondary email: maria.millman@akerman.com
                                       AKERMAN, LLP
                                       350 East Las Olas Blvd., Suite 1600
                                       Fort Lauderdale, Florida 33301
                                       Ph: (954) 759-8945/Fax: (954) 463-2224

                                       Counsel for Plaintiff



{29369583;1}
